

Chopra v Gyu-Kaku Japanese BBQ (2023 NY Slip Op 05222)





Chopra v Gyu-Kaku Japanese BBQ


2023 NY Slip Op 05222


Decided on October 17, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 17, 2023

Before: Webber, J.P., Oing, Gesmer, Rodriguez, Rosado, JJ. 


Index No. 153741/20 Appeal No. 800 Case No. 2022-05521 

[*1]Sanjiv Chopra et al., Plaintiffs-Appellants,
vGyu-Kaku Japanese BBQ et al., Defendants-Respondents.


Law Offices of Marc S. Albert, Astoria (Marc S. Albert of counsel), for appellants.
Morrison Mahoney LLP, New York (Dominick R. Pintavalle of counsel), for respondents.



Order, Supreme Court, New York County (Alexander M. Tisch, J.), entered on November 29, 2022, which, to the extent appealed from as limited by the briefs, granted defendants' motion for summary judgment dismissing the complaint as against defendants Gyu-Kaku Japanese BBQ, Cohen Brothers Realty Corporation, and Reins International New York, Inc, unanimously reversed, on the law, without costs, and the motion denied.
Although defendants established prima facie entitlement to summary relief by demonstrating that the step upon which plaintiff fell was open and obvious when approached from the front of the restaurant, plaintiffs raised material issues of fact as to whether, under the circumstances, the step was an unreasonably dangerous trap given the step's location (see Saretsky v 85 Kenmare Realty Corp., 85 AD3d 89, 92 [1st Dept 2011]; Westbrook v WR Activities-Cabrera Mkts., 5 AD3d 69, 72 [1st Dept 2004]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 17, 2023








